         Case 17-23562-JKO      Doc 273    Filed 09/25/18   Page 1 of 9




                UNITED STATES BANKRUPTCY COURT
                 SOUTHERN DISTRICT OF FLORIDA
                    WEST PALM BEACH DIVISION

In re:                                        Case No. 17-23562-JKO
                                              Chapter 11
Black Square Financial, LLC

       Debtor(s).
________________________________/


               NOTICE TO PARTIES PARTICIPATING IN
               JUDICIAL SETTLEMENT CONFERENCE

 Philip Landau, Esq. SHALL SERVE A COPY OF THIS NOTICE ON ALL
COUNSEL WHO ARE NOT RECIPIENTS OF THIS NOTICE VIA CM/ECF,
AND SHALL FILE A CERTIFICATE OF SERVICE OF THE SAME.

COUNSEL FOR EACH PARTY SHALL DELIVER A COPY OF THIS
NOTICE TO THEIR CLIENT AND CLIENT REPRESENTATIVE

       You are receiving this notice because you or a party you represent
agreed to participate in a judicial settlement conference. The presiding judge
in the above captioned matter (the “Presiding Judge”) entered an order
directing you and other parties to attempt to negotiate a settlement of disputes
arising in or related to the above captioned matter. You and the other parties
selected the Hon. Paul G. Hyman, United States Bankruptcy Judge, to assist
you in settlement negotiations.

      BY ATTENDING THE SETTLEMENT CONFERENCE, in addition
to any order entered in the above captioned matter governing the settlement
conference, EACH PARTY AND EACH PARTY’S REPRESENTATIVES,
AGENTS AND ADVISORS, AGREE AS FOLLOWS:

      1.    Time and Place of Settlement Conference. The settlement
conference will commence at _09:30 a.m. on November 7, 2018 at the United
States Bankruptcy Court, 1515 North Flagler Drive, Room 801, West Palm
Beach, FL. It is possible that the settlement conference will be continued one
or more additional days by agreement of the parties.




                                       1
         Case 17-23562-JKO      Doc 273    Filed 09/25/18   Page 2 of 9




       2.     Good Faith Attempt to Settle. The parties agree and consent
that all disputes between them, whether or not arising in the above captioned
matter, will be addressed as part of the settlement conference. Each party
shall make a good faith attempt to negotiate a global settlement of the
disputes arising among the parties involved in the settlement conference.

        3.    Conduct of Settlement Conference; Role of Judge Hyman as
Settlement Facilitator. Judge Hyman is not the Presiding Judge in this
matter. While Judge Hyman is acting in his official capacity as a Bankruptcy
Judge while assisting the parties, he will have no involvement whatsoever in
deciding any issue in the above captioned matter addressed in the settlement
conference. Judge Hyman’s role is to facilitate the settlement discussions
among the parties in an attempt to assist the parties in reaching a global
settlement of their disputes and, if this is not possible, to assist in narrowing
the issues for hearing before the Presiding Judge. In most cases, after a
general meeting with all parties and counsel, Judge Hyman will use multiple
conference rooms at the courthouse to enable separate meetings with the
parties and their counsel. The settlement conference will be conducted in
confidence, and no transcript, audio or video recording, or formal record will be
made. Only Judge Hyman as settlement facilitator, Judge Hyman’s staff, the
parties, and the parties’ representatives and advisors will be permitted to be
present during the settlement conference. While Judge Hyman typically
conducts a settlement conference in the same manner as a mediation, the
settlement conference differs from a traditional mediation in that Judge
Hyman, as facilitator, may provide his personal views on the claims and
positions of the parties. Any settlement agreement reached as a result of the
settlement conference will be a consensual agreement entered into by the
parties voluntarily. You are responsible for the final, negotiated settlement,
if any.

       4.     Pre-Settlement Conference Demand and Offer. The settlement
conference is more likely to be productive if the parties exchange written
settlement proposals prior to the conference. Accordingly, at least ten (10)
days prior to the pre-settlement conference call, counsel for the
plaintiff/movant shall submit to counsel for the defendant/respondent a
written settlement demand, including an itemization of damages (if
appropriate) and a brief explanation as to why such a settlement is
appropriate.      No later than seven (7) days prior to the pre-settlement
conference call, counsel for the defendant/respondent shall submit to counsel
for the plaintiff/movant a written settlement offer with a brief explanation as
to why such a settlement is appropriate. If there are more than two parties,
each party shall deliver a settlement demand or offer as appropriate under the


                                       2
         Case 17-23562-JKO       Doc 273    Filed 09/25/18   Page 3 of 9




circumstances. None of the foregoing documents shall be filed in the above
captioned matter or otherwise made a part of the record in such matter. It is
not necessary to provide these documents to Judge Hyman. On occasion, this
process leads directly to settlement.

       5.     Settlement Conference Statements and Supporting Documents.
Judge Hyman finds that settlement conference statements are instructive and
allow time spent during the conference to be more constructive. Each party
shall prepare a settlement conference statement setting forth the relevant
positions of the party concerning factual issues, issues of law, and relief sought
including damages (if appropriate). All parties should be aware that neither
the contents of the settlement conference statements nor any portions thereof
will be treated as confidential within the context of the settlement conference
process. (Federal Rule of Evidence 408 will govern the confidentiality of
settlement conference statements after the settlement conference.)
Additionally, if there are any operative pleadings of record, please provide the
docket entry numbers for review online via CM/ECF. For any online pleadings
that you cite, you must also include a docket entry for any countervailing
pleadings on the same issue. The settlement conference statement shall set
out the settlement negotiation history of the matter including any specific
demands and offers previously conveyed and any demands and offers conveyed
as a result of this notice. The statements should also include at a minimum: (i)
a short concise statement of the relevant facts not in dispute; (ii) a short
statement of the facts that are subject to dispute; (iii) the operative law(s) that
you believe are at issue; and (iv) the strengths and weaknesses of your case.
The settlement conference statement shall be typed in 12-point Times New
Roman font, shall be double-spaced, and shall not exceed ten (10) pages in
length, inclusive of any court opinions and supporting documents. Judge
Hyman will not read settlement conference statements that fail to conform to
these requirements. No later than five (5) working days prior to the
pre-settlement conference call, the parties shall e-mail the settlement
conference           statements         to       Judge           Hyman           at
Paul_Hyman@flsb.uscourts.gov and simultaneously provide copies to all
counsel of record involved in the settlement conference. None of the foregoing
documents shall be filed in the above captioned matter or otherwise made a
part of the record in such matter. Failure to timely supply Judge Hyman with
the requested documents may result in cancelation of the settlement
conference. Judge Hyman will promptly report any such failure (including
the identity of the relevant party or parties) to the Presiding Judge. The
Presiding Judge may award to any complying party or parties’ attorney fees
and travel expenses should the settlement conference be canceled as a result of
the failure of any party to comply with this paragraph.


                                        3
           Case 17-23562-JKO    Doc 273    Filed 09/25/18   Page 4 of 9




      6.      Pre-Settlement Conference Call.

       Judge Hyman finds that a brief pre-settlement conference call with just
counsel is productive and expedites the conference at the outset. The
conference call should be set for not later than three (3) working days prior to
the settlement conference. Contact Judge Hyman’s Courtroom Deputy, Maria
Romaguera-Serfaty, at (561) 514-4109 to set a time for the call to take place.

      7.      Attendance of Parties Required.

      Each party shall attend the settlement conference in person or through
a duly authorized representative with complete authority to negotiate and
execute a settlement agreement in such person’s discretion.

      JUDGE HYMAN DOES NOT ALLOW ANY PERSON TO APPEAR
      BY   TELEPHONE     EXCEPT    IN   EXTRAORDINARY
      CIRCUMSTANCES, EVEN IF TELEPHONE PARTICIPATION IS
      APPROVED BY THE PRESIDING JUDGE.

       If the party is an individual, that person must physically attend the
settlement conference.

       If the party is a corporate, government, or other organizational entity,
the party must send a person fully authorized to negotiate and execute a
settlement agreement on its behalf.

       Without limiting the foregoing, if a party is a defendant/respondent, the
party’s representative must have final settlement authority to commit the
organization to pay, in the representative’s own discretion, a settlement
amount up to the plaintiff/movant’s prayer, or up to the plaintiff/movant=s last
demand, whichever is lower. Without limiting the foregoing, if a party is a
plaintiff/movant, the party’s representative must have final authority, in the
representative’s own discretion, to authorize dismissal of the matter with
prejudice, or to accept a settlement amount down to the
defendant/respondent’s last offer.

       If a party to the settlement conference is a public entity, including a
federal agency or an entity required to conduct its business pursuant to
Chapter 286, Florida Statutes, that party shall be deemed to appear at the
settlement conference by the physical presence of a representative with full
authority to settle on behalf of the entity.



                                       4
         Case 17-23562-JKO     Doc 273    Filed 09/25/18   Page 5 of 9




       Any insurance company that is a party or that is contractually required
to defend or to pay damages (if any) assessed within its policy limits in the
matter to be addressed during the settlement conference must be present
through a duly authorized representative with final settlement authority to
commit the company to pay, in the representative’s own discretion, an amount
within the policy limits, or up to the plaintiff’s last demand, whichever is
lower. The parties and their counsel are responsible for timely advising any
involved non-party insurance company of the requirements of this notice.

       The purpose of these requirements is to have in attendance a
representative for each party who has the authority to exercise his or her own
discretion, and the realistic freedom to exercise such discretion without
negative consequences, in order to reach settlement during the conference
without consulting someone else who is not present. Having a party with
authority available by telephone is not an acceptable alternative as it is
impossible for a party who is not present to appreciate the negotiation process
and the reasons that may justify a change in one’s perspective toward
settlement. In the event counsel for any party is aware of any circumstance
which might cast doubt on a client’s compliance with these requirements, said
counsel shall immediately discuss the circumstance with opposing counsel to
resolve the issue well before the settlement conference. If such discussion
does not resolve the issue, counsel may request a teleconference with Judge
Hyman and all parties and counsel of record involved in the settlement
conference by contacting Maria Romaguera-Serfaty, Courtroom Deputy, at
(561) 514-4109.

      If any required person described above fails to attend the settlement
conference, the settlement conference will be canceled or rescheduled. Judge
Hyman will promptly report such facts (including the identity of the person or
persons) to the Presiding Judge. The Presiding Judge may assess costs and
expenses, and additional sanctions, against any non-complying party,
attorney, or both.

      8.      Electronic Devices; Photo Identification Required. Electronic
devices, including but not limited to still or video cameras, mobile phones,
blackberry devices, pagers, personal data assistants, laptop computers, radios,
and sound recording devices, are not permitted in the courtroom or the
environs of the court. These restrictions do not apply to attorneys permitted
to practice law in the Southern District of Florida who are members of the
Florida Bar with a valid Florida Bar identification card or who have been
permitted to practice before the court by pro hac vice order, U.S. government
or State of Florida law enforcement officers, court licensed court reporters,


                                      5
           Case 17-23562-JKO     Doc 273    Filed 09/25/18   Page 6 of 9




U.S. Trustee’s Office staff, and designated bankruptcy trustees. No one is
permitted to bring a camera of any kind into a federal courthouse facility
except with a written order signed by a Judge and verified by the U.S.
Marshal’s Service. Photo identification is required to gain entrance to all
federal courthouse buildings.

      9.      Confidentiality.

      Consistent with Federal Rule of Evidence 408, the content of and the
discussions occurring during the settlement conference are to be kept
confidential. All persons involved in the settlement conference will keep
confidential and not use for any collateral or ulterior purpose:

     a.     any views expressed or suggestions or proposals for settlement
made by a party in the course of the settlement conference;

     b.    any views expressed or suggestions or proposals for settlement
made by Judge Hyman in the course of the settlement conference;

      c.      the fact that a party had or had not been willing to accept a
proposal for settlement made during the settlement conference; and

       d.    all information (whether oral or in writing) produced for or
arising in relation to the settlement conference, unless such information is
otherwise discoverable under applicable rules of evidence.

        All attorney work product relating to the settlement conference
(including anything stored electronically) and any other information produced
for, or arising in relation to, the settlement conference shall be privileged, and
shall not be admissible as evidence or discoverable in any legal proceedings
except (i) as directly necessary to implement and enforce any settlement
agreement resulting from the settlement conference, and (ii) as provided in
this notice.

       All documents used or created in the settlement conference (the
“Settlement Conference Documents”) are not to be used by any party or their
respective representatives in any legal proceedings save for such documents
that are/were in the possession or custody of such party prior to the settlement
conference or are obtained by such party legitimately other than through the
settlement conference process. In respect of the Settlement Conference
Documents, any existing restrictions on the use of such documents and/or any
prevailing law, rule or court order applicable to such documents, are to remain


                                        6
           Case 17-23562-JKO    Doc 273     Filed 09/25/18   Page 7 of 9




in effect. The settlement conference is not to be taken as waiving or in any
way affecting any such restriction, law, rule or court order unless expressly
agreed to in writing by the relevant party or parties.

      Written materials submitted to Judge Hyman and Judge Hyman’s
notes will be destroyed after the conclusion of the settlement conference.

       The parties will not call Judge Hyman (or Judge Hyman’s law clerks or
courtroom deputy) as a witness, consultant, arbitrator, or expert in any
proceedings in relation to the disputes presented as part of the settlement
conference. The parties are encouraged to consult with counsel regarding the
foregoing agreements relating to confidentiality and admissibility. Judge
Hyman does not provide legal advice to the parties, and makes no
representation regarding the enforceability of the provisions of this notice
among the parties.

       10.   Potential Questions to be Addressed During Settlement
Conference. The parties should review the following questions well prior to
the settlement conference, and be prepared to discuss each topic at the
settlement conference. This is not intended to be an exhaustive list of
potential topics for discussion.

      a.      What are your objectives in litigation?

      b.    What issues need to be resolved, whether or not before the
Presiding Judge?

       c.     What legal arguments support your position? What case law can
you cite to support your argument?

      d.     Do you understand the opposing party's view of the case? Do you
dispute their factual assertions? What are their legal arguments? What cases
support their position?

      e.      What remedies are available through litigation or otherwise?

      f.    Is there the possibility for a creative resolution of the dispute, not
otherwise available through decision by the Presiding Judge?

      g.     Do you have adequate information to discuss settlement? If not,
how will you obtain sufficient information to make a meaningful settlement
discussion possible?


                                        7
           Case 17-23562-JKO     Doc 273    Filed 09/25/18   Page 8 of 9




      h.     Are there outstanding liens? Do we need to include a
representative of the lien holder?

      i.      What are the alleged damages and how were they calculated?

      j.      Is any party seeking relief other than monetary damages?

      k.      Are there collectability issues in this matter?

       11.    Involvement of Clients. For many clients, this will be the first
time they participate in a court supervised settlement conference. Therefore,
counsel shall provide a copy of this notice to each client and client
representative and shall discuss the issues addressed herein with their clients
prior to the settlement conference.

       12.   Settlement Agreement. The parties agree to abide by any
settlement and to effect the terms thereof reached through the settlement
conference. Any settlement agreement entered into as a result of the
settlement conference may be subject to review and approval by the Presiding
Judge.

       13.    Reporting by Judge Hyman. Judge Hyman will report to the
Presiding Judge, orally or in writing, only (a) that the parties did or did not
reach settlement and the general extent of the settlement if one was reached,
(b) if and how a settlement may be presented to the Presiding Judge (for
example, by motion under Bankruptcy Rule 9019), and (c) any facts relevant to
a party’s failure to comply with the requirements of paragraphs 5 and 6, above.


     14.    Waiver of Claims.    The parties agree for the benefit of
themselves and Judge Hyman as settlement facilitator that:

       a.   The parties shall not make any claim whatsoever against Judge
Hyman or his staff for any matter in connection with or in relation to the
settlement conference, the assistance provided by Judge Hyman, or the
disputes between the parties; and

        b.   Judge Hyman and his staff will not be liable to the parties for any
act or omission in connection with his assistance provided as settlement
facilitator.




                                        8
         Case 17-23562-JKO     Doc 273    Filed 09/25/18   Page 9 of 9




      15.    Termination by Judge Hyman as Settlement Facilitator.

      If any party does not agree to all provisions of this notice, such party
shall advise Judge Hyman prior to the commencement of the settlement
conference, in writing, and Judge Hyman will withdraw as proposed
settlement facilitator in this matter. By attending the settlement conference,
each party and each party’s representatives, agents, and advisers, agree to be
bound by all terms of this notice as if this notice were an agreement signed by
each such person or entity.


                                       Hon. Paul G. Hyman
                                       United States Bankruptcy Judge




                                      9
